Case 1:19-cv-23131-RNS Document 26 Entered on FLSD Docket 12/11/2019 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                        CASE NO.19-23131-CIV-SCOLA/GOODMAN

   EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,

          Plaintiff,

   and

   LOUISE DAVIDSON-SCHMICH,

          Intervenor-Plaintiff,
   v.

   UNIVERSITY OF MIAMI,

          Defendant.
   -------------------~'
                 ORDER OF RECUSAL AND ORDER OF REASSIGNMENT
                                                                                                  /




          The Undersigned, to whom matters and motions in the above-styled case have

   been referred, recuses himself and refers the case to the Clerk of Court for reassignment

   pursuant to 28 U .S.C. § 455( a); the Court's Internal Operating Procedure, IOP 2.16.00; and

   Administrative Order 2017-18.

          DONE AND ORDERED in Chambers, Miami, Florida, on December 11, 2019.




                                              UNITED STATES MAGISTRATE JUDGE
Case 1:19-cv-23131-RNS Document 26 Entered on FLSD Docket 12/11/2019 Page 2 of 2




          In accordance with the Local Rules and Administrative Orders for the Southern

   District of Florida, this cause will be reassigned to the calendar of United States

   Magistrate Judge _Lauren
                      ___   F. _
                               Louis
                                 _ _ _ _ _ _ _ _ _ _ __

          Copies of this order shall be served on all pending parties of record by notice of

   electronic filing and/or United States mail. All documents for filing in this case shall carry

   the following case number and designation: _ 19-23131-CV-SCOLA/LOUIS
                                                _ _ _ _ _ _ _ _ _ _ _ __

                                     December
          BY ORDER OF the Court on _ _ ____   11_ _ ___, 2019, Miami, Florida.




                                                            ANGELA E. NOBLE
                                                            Clerk of Court




                                                                  J._
                                                            By: _ _ Conway
                                                                      _ _ _ __
                                                                    Deputy Clerk


   Copies furnished to:
   The Honorable Robert N. Scola
   All counsel of record




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